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 WOLLMUTH MAHER & DEUTSCH LLP
 Paul R. DeFilippo
 James N. Lawlor
 51 JFK Parkway
 First Floor West
 Short Hills, New Jersey 07078
   - and -
 500 Fifth Avenue
 New York, New York 10110
 Tel: (212) 382-3300
 Fax: (212) 382-0050
 pdefilippo@wmd-law.com
 jlawlor@wmd-law.com

 Proposed Counsel for Matthew Cantor, Chapter 11 Trustee

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 -----------------------------------------------------------------x
                                                                  :
 In re:                                                           :     Case No: 18-14603 (MBK)
                                                                  :
 PRINCETON ALTERNATIVE INCOME FUND,                               :     Chapter 11
 L.P., et. al.,2                                                  :
                                                                  :
                   Debtors.                                       :
                                                                  :
 -----------------------------------------------------------------x

              NOTICE OF APPEARANCE, REQUEST FOR SERVICE OF NOTICES
               AND DOCUMENTS, AND REQUEST FOR ADDITION TO MATRIX

            PLEASE TAKE NOTICE that pursuant to section 1109 of title 11 of the United States

 Code, 11 U.S.C. § 101 et seq., and Rules 2002, 3017, 9007 and 9010 of the Federal Rules of

 Bankruptcy Procedure, Matthew Cantor, as trustee, appears through his counsel, Wollmuth

 Maher & Deutsch LLP, and request service of all notices and documents herein upon:




 2
     The Debtors are Princeton Alternative Income Fund, L.P. and Princeton Alternative Funding, LLC.
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                                      Paul R. DeFilippo, Esq.
                                  Wollmuth Maher & Deutsch LLP
                                        500 Fifth Avenue
                                   New York, New York 10110
                                       Tel: (212) 382-3300
                                    pdefilippo@wmd-law.com

        PLEASE TAKE FURTHER NOTICE that the foregoing request for service includes

 all pleadings of any kind, including, without limitation, all notices, applications, motions,

 complaints and orders, whether written or oral, formal or informal, however transmitted or

 conveyed, related in any way to the above-captioned Debtors their property or their estates.

        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance, Request

 for Service of Notices and Documents, and Request for Addition to Matrix (the “Notice”) nor any

 later appearance, pleading, proof of claim, claim, or suit shall constitute a waiver of (i) the right

 to have final orders in noncore matters entered only after de novo review by a District Judge, (ii)

 the right to trial by jury in any proceeding triable in these cases or any case, controversy, or

 proceeding related to these cases, (iii) the right to have the District Court withdraw the reference

 in any matter subject to mandatory or discretionary withdrawal, (iv) any objection to the

 jurisdiction of this Bankruptcy Court for any purpose other than with respect to this Notice, (v)

 an election of remedies, or (vi) any other rights, claims, actions, defenses, setoffs, or

 recoupments as appropriate, in law or in equity under any agreements, all of which rights,

 claims, actions, defenses, setoffs, and recoupments are expressly reserved.

 Dated: New York, New York
        November 13, 2018
                                                    WOLLMUTH MAHER & DEUTSCH LLP

                                                    By: ____/s/_Paul R. DeFilippo
                                                                  Paul R. DeFilippo

                                                    Proposed Counsel for Matthew Cantor, Chapter
                                                    11 Trustee



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